12 F.3d 204
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dennis Wayne COCHRAN, Plaintiff-Appellant,v.Edward W. MURRAY;  E. C. Morris, Defendants-Appellees,andDavid A. Williams, Defendant.
    No. 93-6828.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 25, 1993.Decided:  November 17, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.
      Dennis Wayne Cochran, Appellant Pro Se.
      Mark Ralph Davis, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Cochran v. Murray, No. CA-92-1021 (E.D. Va.  July 7, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    